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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    GENTEX CORPORATION,                                    No. 4:17-CV-01136

                 Plaintiff,                                (Judge Brann)

          v.

    HELICOPTER HELMETS, LLC,

                 Defendant.

                              CASE MANAGEMENT ORDER

                                       OCTOBER 24, 2019

          Pursuant to the authority granted to this Court under Federal Rule of Civil

Procedure 83(b), this Case Management Order shall govern all proceedings in the

above-captioned case. No deadlines set by this Order, the Local Rules,1 or the

Federal Rules of Civil Procedure may be altered without this Court’s approval, and

this Court may modify any deadline sua sponte.

                Joinder of Additional Parties and Amended Pleadings

     1.    All additional parties shall be joined by December 1, 2019.2


1
     The Local Rules are online at http://www.pamd.uscourts.gov/sites/pamd/files/LR120114.pdf,
     and may also be obtained by writing the Clerk of Court, United States Courthouse and Federal
     Building, Suite 218, 240 West Third Street, Williamsport, Pennsylvania, 17701-6460.
2
     This Order is effective immediately as to all parties who have already appeared. If any parties
     have not yet been served with the summons and complaint, a copy of this Order shall be served
     on those parties simultaneously with the summons and complaint, in any manner authorized
     by Federal Rule of Civil Procedure 4(c). If any parties have been served with the summons
     and complaint but have not yet appeared, a copy of this Order shall, within three days of the
     date of this Order, be served on those parties in any manner authorized by Federal Rule of Civil
     Procedure 5(b) that is calculated to provide prompt, actual notice of this Order’s contents. For
     parties who have not yet been served with the summons and complaint, or have not yet
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    2.   Amended pleadings are due December 1, 2019.

                                          Discovery

    3.   Fact discovery shall be conducted expeditiously and diligently, and shall be

         completed by June 1, 2020. All requests for extensions of this deadline shall

         be made at least fourteen days before the expiration of the discovery period.

    4.   Plaintiff’s expert reports are due November 2, 2020.

    5.   Defendant’s expert reports are due December 2, 2020.

    6.   Supplemental and rebuttal expert reports are due December 16, 2020.

    7.   Expert discovery shall be completed by December 30, 2020.

    8.   If a discovery dispute arises, counsel shall electronically docket a letter

         apprising the Court of the dispute’s general contours. Upon receipt of that

         letter, the Court may schedule a conference if necessary. No discovery

         motions may be filed without express permission of the Court.3

    9.   Counsel shall confer within four weeks after the completion of discovery to

         discuss settlement, and shall notify this Court if they would like the

         assistance of a United States Magistrate Judge in conducting a formal

         settlement conference.




    appeared, this Order is effective immediately upon receipt. No party, however, will penalized
    for violating the terms of this Order if they have not received actual notice of this Order’s
    contents.
3
    See Federal Rule of Civil Procedure 16(b)(3)(B)(v).
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                                  Dispositive Motions

    10.    Dispositive motions shall be filed by August 3, 2020.

    11.    Briefing on dispositive motions shall comply with Local Rules 7.4, 7.5,

           7.6, 7.7, 7.8, and 56.1.

    12.    Any defendant contemplating a dispositive motion shall confer with other

           defendants and shall file joint motions and briefs whenever possible.

                                      Pretrial Matters

    13.    Motions to exclude expert testimony shall be filed no later than thirty days

           from receipt of the expert’s report.

    14.    Motions in limine and supporting briefs shall be filed by December 30,

           2020.

    15.    Pretrial memoranda shall be filed by January 13, 2021. No later than

           fourteen (14) days before this date, counsel shall hold a conference as

           indicated in Local Rule 16.3.

    16.    Proposed voir dire questions shall be filed by January 13, 2021.

    17.    Proposed jury instructions shall be filed by January 13, 2021.

    18.    A final pretrial conference will be held on January 26, 2021 (time to be

           determined).4 Counsel who will try the case shall attend this conference

           (unless the Court approves the substitution of another attorney who is fully



4
    The pretrial conference will take place in Judge Brann’s chambers at the United States
    Courthouse and Federal Building in Williamsport.
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           familiar with the case), and all individuals with settlement authority shall

           be present or available by telephone. At the conference, counsel shall set

           forth the elements of all claims and defenses expected to be made at trial.

                                              Trial

    19.    The above-captioned case is currently placed on the March 2021 trial list.

           Counsel should note, however, that criminal matters take priority and may

           delay the beginning of the civil trial list.

    20.    Jury selection will begin at 9:30 am on the first day scheduled for trial, and

           trial will commence immediately following the jury’s empanelment.5

                                   Miscellaneous Matters

    21.    Motions to seal documents (and the document(s) sought to be sealed) must

           be mailed to, or filed with, the Clerk’s Office in Williamsport. The Court

           will not accept sealed documents filed in Scranton or Harrisburg.

    22.    At any time, if the parties wish to utilize the Court-Annexed Mediation

           Program6 or any other form of alternative dispute resolution, counsel

           should electronically docket a letter expressing this interest and request a

           telephone conference call with the Court.

    23.    Counsel are advised that they may to consent to the disposition of this case

           by a United States Magistrate Judge pursuant to 28 U.S.C. § 636(c).


5
    Trial will take place in Courtroom No. 1, located on the fourth floor of the United States
    Courthouse and Federal Building in Williamsport.
6
    See Local Rules 16.8.1-.7.
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  24.    Inquiries about this case may be directed to Janel R. Rhinehart, my

         Courtroom Deputy, at 570-323-9772.

                       Summary of Dates and Deadlines

            Joinder of additional parties:    December 1, 2019
                     Amended pleadings:       December 1, 2019
                                Discovery:    June 1, 2020
                    Dispositive Motions:      August 3, 2020
                Plaintiff’s expert reports:   November 2, 2020
              Defendant’s expert reports:     December 2, 2020
Supplemental and rebuttal expert reports:     December 16, 2020
                        Expert discovery:     December 30, 2020
 Motions in limine and supporting briefs:     December 30, 2020
                     Pretrial memoranda:      January 13, 2021
                Final pretrial conference:    January 26, 2021
                                     Trial:   March 2021

                                               BY THE COURT:


                                               s/ Matthew W. Brann
                                               Matthew W. Brann
                                               United States District Judge
